Case 2:04-cr-20104-tmp Document 52 Filed 07/22/05 Page 1 of 2 Page|D 38

IN THE UNITED sTATEs DISTRICT comm Fu.§f.) §~.M D.C.
FoR THE wESTERN DISTRICT oF TENNESSEE 2
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UNITED S'I‘ATES OF AMERICA
Plaintiff,

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vs. CR. NO. 2:04-20104-P

DERRICK JONES
Defendant.

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ORDER HOLDING PROBATIONER FOR REVOCATION HEARING

 

On July 22, 2005, Derrick Jones appeared before on a charge
of violation of the terms and conditions of probation/supervised
release in this matter. The defendant was advised of his/her
rights under FRCrP 5 and 32.l(a)(l).

At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.

Accordingly, defendant Derrick Jones is held to a final
revocation hearing, to be set on notice from the United States
Magistrate Court and in accordance with the provisions of Rule
32.l(a)(2), Federal Rules of erminal Procedure.

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IT IS SO ORDERED this g day of , 2005.

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UNITED STATES MAGISTR.ATE JUDGE

This dochent entered on the docket sheet in compliance
with me 55 and/or 32:b) F§ch on ‘ ”

   
 

  
 

   

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UNITED sTTES DISTICT COURT - WERNSTE D"RITICT 0 TENNESSEE

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This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20104 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable Tu Pham
US DISTRICT COURT

